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Attomey fot Plaintif


                         IN TgE UNITED STATES DISTRICT COURT

                          DISTRICT OF UTAH, CENTRAL DTVISION


ROBERTO VISCARRA,                                         COMPLAINT



                                                         Case no: 2:10-cv-01241-DS

BONNEVILLE BILLING AND
COLLECTIONS, INC.,
                                                         JURY TRIAL DEMANDED
                     Defendant.

                                      I.   INTRODUCTION

       l.        This is an action for damages brought by an individual consumer {or Defendant's

violations ofthe federal Fair Debt Collection Practices Act, 15 U.S.C. $ 1692, et seq.   (h$etaftet

"FDCPA      ).
                                      II. JURISDICTION
       2.        Plaintiffs claim for violations of the FDCPA   arises under 15 U.S'C. $ 1692k(d),

and theiefore involves a "federal question" pusuant to 28 USC $ 1 33 I   .



                                           UI. PARTIES
       3.        Plaintitr, Roberto Viscarra C'Plaintitr), is a natural person residing    in   Utah

County, Utah.
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        4.        Defendant, Bormeville       Billing and Collections, Inc., ('Defendant") is            a


corporation engaged      in the business of collecting debts by       use   of the mails arld telephone.

Defendant regulady attempts to collcct debts alleged due another'

                                        IV. FACTUALALLEGATIONS

        5.        Defendant is a "debt collectol' as defined by the FDCPA, 15 U.S.C. $ 16924(6).

        6.        Plaintiffis   a "consumer" as defined by the FDCPA,       l5 U.S.C. $   1692a(3).

        7,        All activities of Defendant   set out herein were mdertaken in cormection with the

collection ofa "debt," as defined by 15 USC $ 1692a(5).

        8.        Within the last year, Defendant took multiple actions in an attempt to collect a

debt fiom Plainriff Defendant's conduct violaled the FDCPA in multiple rays, including the

following.

        9.        Communicating with Plaintiff after having received a l€tter from Plainliff with a

request to ceas€ and desist      all collection contacts or a statement that Plaintiff refuses to pay the

debt. Plaintiff   sent Deferdant a letter clearly refusing to pay the debt in or around      August 2010.

Defendant then sent Plainliff in response a letter tlrcatening to take legal action against him and

threatening to add additional fees. The letter in question went above and beyond the message

Defendant was allowed to give to Plaintiff in response to his letter by 15 USC 1692c(cx2) ($

t692c(c)).

        10.       Failing to provide Plaintiffwith the notices required by 15 USC $ 16929 either in

the initial cornmunication with Plaintif, or in wdting iryithin 5 days thereof, including failing to

clearly state the identity ofthe current creditor in the initial letter sent to Plaintiff ($ 1692g(a).

        l   l,    As a result of the aforementioned violations, Plaintiff suffered and continues to
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suffer injuries to Plaintilfs feelings, peronal humiliation, embarassment, mental anguish and

severe emotional dishess.

            12,   DefeDdant intended to causc, by means of the actions detailed above, injuries to

Plaintiffs feetings, persoml humiliatior! embar.assment, mental anguish atrd        severe emotional

distress.

        13.       Defendant's actions, detailed above, were undertakfl           with   exhaordinary

disregard of, or inditrerence 10, known or highly probable risks 10 purponed debtols,

        14,       To the extent Defendant's actions, detailed in paragraphs 8-10, werc carded out

by an employee of Defendant, that employee was acting within the scope of his or her

emplolment.

       COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

        15.       Plaintiffreincoryomtes by rcference all ofthe prcceding paragraphs.

        16.       The preceding paragraphs sl,i,e a primq fqcie case for Plaintiff ard against

Defendant for violations ofthe FDCPA, gg 1692Eip)      &   1692c(c).   .



                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintitr rcspectlirlly        pnys that judgnent be entered against           the

Defendant for the following:

        A.        Declamtory judgrDent that Defendant's aonduct violated the FDCPA;

       B.         Actual damages pu$uant to 15 USC 1692k;

       C.         Statutory damages pu$uant to l5 U.S.C. g 1692k;

       D.         Costs, disbursements and reasotable attomey's fees for   all successful claims, and

any unsuccessfirl claims arising out of the same transaction or occrmence as the sucoessful
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claims! pursuati to 15 U.S.C. $   169k   and,

       E.     For $rc,h othcr   ad firthcr reliefas oay bcjust ed   plop€r.

                 PLAINTITF HEREBY REiOUESTS A TRIAL BY JURY



              Datcd this t3o day ofDec€nb€r, 2010.


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